        Case 17-24300-JAD                       Doc 75        Filed 11/27/24 Entered 11/27/24 09:28:57                     Desc Main
     Fill in this information to identify the case:           Document Page 1 of 5
     Debtor 1              LINDA S. MADLIGER


     Debtor 2
     (Spouse, if filing)

     Unites States Bankruptcy Court for the:   Western District of Pennsylvania
                                                                                    (State)
     Case Number:          17-24300JAD




Form 4100N
Notice of Final Cure Payment                                                                                                           10/15

File a separate notice for each creditor.

According to Bankruptcy Rule 3002.1(f), the trustee gives notice that the amount required to cure the prepetition default in the claim
below has been paid in full and the debtor(s) have completed all payments under the plan.


 Part 1:             Mortgage Information

                                                                                                              Court claim no. (if known):
 Name of creditor:                  LAKEVIEW LOAN SERVICING LLC                                                      8

 Last 4 digits of any number you use to identify the debtor's account                         3   0   2   9

 Property Address:                             814 S MAIN ST
                                               BUTLER PA 16001




 Part 2:             Cure Amount


 Total cure disbursments made by the trustee:
 .
                                                                                                                           Amount

 a. Allowed prepetition arrearage:                                                                                   (a)   $        8,407.69

     b. Prepetition arrearage paid by the trustee :                                                                  (b)   $        8,407.69

     c. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c):              (c)   $           0.00

     d. Amount of postpetition fees, expenses, and charges recoverable under Bankruptcy Rule 3002.1(c)               (d)   $           0.00
        and paid by the trustee:
     e. Allowed postpetition arrearage:                                                                              (e)   $           0.00

 f.       Postpetition arrearage paid by the trustee :                                                             + (f)   $           0.00

     g. Total. Add lines b, d, and f.                                                                                (g)   $        8,407.69



 Part 3:             Postpetition Mortgage Payment

 Check one

         Mortgage is paid through the trustee .
         Current monthly mortgage payment                                                                                  $        $768.03
         The next postpetition payment is due on                 1 / 1 / 2025
                                                                MM / DD / YYYY

 ! Mortgage is paid directly by the debtor(s).


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Debtor 1     LINDA S. MADLIGER                                                Case number (if known) 17-24300JAD
             Name




 Part 4:     A Response Is Required By Bankruptcy Rule 3002.1(g)


 Under Bankruptcy Rule 3002.1(g), the creditor must file and serve on the debtor(s), their counsel, and the trustee, within 21
 days after service of this notice, a statement indicating whether the creditor agrees that the debtor(s) have paid in full the
 amount required to cure the default and stating whether the debtor(s) have (i) paid all outstanding postpetition fees, costs,
 and escrow amounts due, and (ii) consistent with § 1322(b)(5) of the Bankruptcy Code, are current on all postpetition
 payments as of the date of the response. Failure to file and serve the statement may subject the creditor to further action of
 the court, including possible sanctions.

 To assist in reconciling the claim, a history of payments made by the trustee is attached to copies of this notice sent to the
 debtor(s) and the creditor.




              "/s/ Ronda J. Winnecour
                    Signature
                                                                                 Date     11/27/2024


 Trustee            Ronda J. Winnecour

 Address            CHAPTER 13 TRUSTEE WD PA
                    600 GRANT STREET
                    SUITE 3250 US STEEL TWR
                    PITTSBURGH, PA 15219

 Contact phone      (412) 471-5566                                Email   cmecf@chapter13trusteewdpa.com




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Debtor 1     LINDA S. MADLIGER                                          Case number (if known) 17-24300JAD
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                         Amount
MORTGAGE ARR. (Part 2 (b))
06/27/2022   1237666     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         338.96
07/26/2022   1240619     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         392.07
08/24/2022   1243519     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         392.07
09/27/2022   1246384     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         391.61
10/25/2022   1249213     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         379.72
11/23/2022   1251990     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         367.83
04/25/2023   1265702     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         339.15
05/25/2023   1268552     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         367.83
06/26/2023   1271452     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         361.29
07/25/2023   1274229     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         354.75
08/25/2023   1276999     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         354.75
09/26/2023   1279757     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
10/25/2023   1282469     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
11/27/2023   1285154     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
12/21/2023   1287747     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
01/26/2024   1290418     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
02/26/2024   1293093     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
03/26/2024   1295732     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
04/25/2024   1298390     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
05/29/2024   1301093     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
06/25/2024   1303645     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
07/25/2024   1306229     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
08/26/2024   1308814     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         356.60
11/25/2024   1316497     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          88.46
                                                                                                                  8,407.69

MORTGAGE REGULAR PAYMENT (Part 3)
02/23/2018   1071222     LOANCARE SERVICING CENTER INC        AMOUNTS DISBURSED TO CREDITOR                       1,802.97
03/28/2018   1074360     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         903.35
04/24/2018   1077601     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         903.12
05/25/2018   1080857     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         903.90
06/22/2018   1084003     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         903.77
07/26/2018   1087215     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         517.36
08/28/2018   1090428     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         330.71
09/25/2018   1093559     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         655.43
10/29/2018   1096807     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         694.01
11/27/2018   1099946     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         721.46
12/21/2018   1103059     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         746.45
01/25/2019   1106263     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         383.22
02/25/2019   1109514     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                       1,170.70
03/25/2019   1112804     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         396.76
04/26/2019   1116101     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                       1,203.68
05/24/2019   1119500     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         809.03
06/25/2019   1122893     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         824.76
07/29/2019   1126334     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         415.17
08/27/2019   1129805     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                       1,261.30
09/24/2019   1133117     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                       1,688.66
10/24/2019   1136441     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         837.16
11/25/2019   1139908     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         840.14
12/23/2019   1143290     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         420.80
01/28/2020   1146751     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         421.95
02/25/2020   1150272     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         422.03
03/23/2020   1153755     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         422.05
04/27/2020   1157215     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         435.55
05/26/2020   1160554     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         427.37
06/26/2020   1163687     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         433.89
07/29/2020   1166814     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         438.70
08/25/2020   1169888     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         442.31
09/28/2020   1172976     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         999.43
10/26/2020   1176065     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         933.92
11/24/2020   1179143     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         867.16
12/21/2020   1182098     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         870.77
01/25/2021   1185062     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                         907.40

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Debtor 1     LINDA S. MADLIGER                                          Case number (if known) 17-24300JAD
             Name




                                              Disbursement History

Date         Check #     Name                                 Posting Type                                          Amount
MORTGAGE REGULAR PAYMENT (Part 3) Continued...
02/22/2021   1188178     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          910.09
03/26/2021   1191462     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          920.36
04/26/2021   1194725     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          920.50
05/25/2021   1197863     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          920.56
06/25/2021   1201041     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          920.64
07/26/2021   1204251     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          938.59
08/26/2021   1207374     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          974.76
09/24/2021   1210495     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          975.00
10/25/2021   1213572     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          965.78
11/22/2021   1216611     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          949.28
12/23/2021   1219668     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          956.91
01/26/2022   1222745     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          957.00
02/23/2022   1225639     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          957.05
03/25/2022   1228585     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          956.99
04/26/2022   1231607     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          953.71
05/25/2022   1234640     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                        1,029.25
06/27/2022   1237666     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          809.52
07/26/2022   1240619     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.45
08/24/2022   1243519     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.45
09/27/2022   1246384     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
10/25/2022   1249213     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
11/23/2022   1251990     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
12/22/2022   1254760     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
01/26/2023   1257488     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
02/23/2023   1260117     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
03/28/2023   1262880     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
04/25/2023   1265702     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
05/25/2023   1268552     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
06/26/2023   1271452     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
07/25/2023   1274229     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
08/25/2023   1276999     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          762.91
09/26/2023   1279757     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
10/25/2023   1282469     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
11/27/2023   1285154     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
12/21/2023   1287747     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
01/26/2024   1290418     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
02/26/2024   1293093     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
03/26/2024   1295732     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
04/25/2024   1298390     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
05/29/2024   1301093     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
06/25/2024   1303645     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
07/25/2024   1306229     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
08/26/2024   1308814     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                          761.06
09/25/2024   1311389     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                        1,117.66
10/25/2024   1313929     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                        1,117.66
11/25/2024   1316497     LAKEVIEW LOAN SERVICING LLC          AMOUNTS DISBURSED TO CREDITOR                           68.77
                                                                                                                  65,489.06




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                                          CERTIFICATE OF
                                          Document       SERVICE
                                                       Page 5 of 5
I hereby certify that on the date shown below, I served a true and correct copy of Notice of Final Cure Payment
upon the following, by regular United States mail, postage prepaid, addressed as follows:

LINDA S. MADLIGER
814 S. MAIN STREET
BUTLER, PA 16001

GLENN R BARTIFAY ESQ**
2009 MACKENZIE WAY STE 100
CRANBERRY TWP, PA 16066

LAKEVIEW LOAN SERVICING LLC
C/O RUSHMORE SERVICING
PO BOX 619094
DALLAS, TX 75261-9741

RUSHMORE SERVICING
PO BOX 619096
DALLAS, TX 75261-9741

KML LAW GROUP PC*
701 MARKET ST STE 5000
PHILADELPHIA, PA 19106




11/27/24                                                       /s/ Roberta Saunier
                                                               Administrative Assistant
                                                               Office of the Chapter 13 Trustee




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